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                                                    Scottsdale AZ 85251
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                                                    Attorney for Defendant
                                                  5

                                                  6                        IN THE UNITED STATES DISTRICT COURT

                                                  7                                FOR THE DISTRICT OF ARIZONA

                                                  8
                                                      United States of America,                     Case No. CR-19-00898-PHX-DLR (DMF)
                                                  9                                    Plaintiff,
ADAMS & ASSOCATES, PLC




                                                                                                       MOTION TO WITHDRAW AS
                                                 10 vs.                                                  COUNSEL OR IN THE
                         7502 E. Monterey Way
                          Scottsdale, AZ 85251




                                                                                                       ALTERNATIVE MOTION TO
                            (480) 219-1366




                                                 11 David Allen Harbour,                              CONTINUE THE TRIAL FOR A
                                                                                                          PERIOD OF 90 DAYS
                                                                                       Defendant.
                                                 12

                                                 13

                                                 14
                                                             Ashley D. Adams, on behalf of Adams & Associates, PLC, hereby files a Motion to
                                                 15
                                                      Withdraw as Counsel, or in the alternative, moves for a continuance of the trial set on March
                                                 16
                                                      28, 2022, for a period of 90 days. This Motion is supported by the attached Memorandum
                                                 17
                                                      of Points and Authorities.
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                                                   1 MEMORANDUM OF POINTS AND AUTHORTIES

                                                   2 I.       Adams & Associates, PLC was retained only on a limited basis in order to assist
                                                              Mr. Baskin’s firm.
                                                   3
                                                              Undersigned counsel was contacted by Allan Baskin, Mr. Harbour’s former attorney,
                                                   4
                                                       in February of 2020, to assist with Motion Writing and Trial Strategy. Adams & Associates
                                                   5
                                                       signed an Engagement Letter with Mr. Baskin’s firm and Mr. Harbour on or about February
                                                   6
                                                       20, 2020. The firm received a retainer of $15,000.00. (See Engagement Letter dated
                                                   7
                                                       February 20, 2020, attached as Exhibit 1.)
                                                   8
                                                              Between May of 2020 until early December 2021, undersigned had little involvement
                                                   9
ADAMS & ASSOCIATES, PLC




                                                       in the preparation of the defense. Mr. Baskin consulted with undesigned regarding various
                                                  10
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                           Scottsdale, AZ 85251




                                                       motions that have been filed in the case, and sent counsel drafts to review before filing.
                             (480) 219-1366




                                                  11
                                                       Undersigned sat on approximately five Zoom and/or phone calls with Mr. Baskin, Ms.
                                                  12
                                                       Milovic and Mr. Harbour. On one occasion, Jason Silver was also on a phone conference.
                                                  13
                                                       Undersigned duties did not include reviewing any of the discovery provided by the
                                                  14
                                                       government during this limited engagement.
                                                  15
                                                              In January of 2021, Mr. Baskin inquired whether undersigned would be willing to
                                                  16
                                                       assist with the trial, and in particular, witness preparation for the defense forensic accounting
                                                  17
                                                       expert, direct examination of such witness, and with cross examination of the government’s
                                                  18
                                                       forensic accounting witness. The parties also discussed the possibility of undersigned
                                                  19
                                                       handling the cross examination of witness R.G.
                                                  20
                                                              Thereafter, in late January, 2021, undersigned prepared an amended engagement
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                                                       letter, with Mr. Harbour only, which was not executed by him until March 29, 2021. (See
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                                                   1 Amended Engagement executed on March 29, 2021, attached as Exhibit 2.) The engagement

                                                   2 provides that Adams & Associates would be acting as co-counsel to Alan Baskin. Id. The

                                                   3 engagement letter further required that Mr. Harbour was to provide Adams & Associates

                                                   4 with a retainer of $100,000. Id. To date, only $50,000 of this retainer has been paid. Counsel

                                                   5 entered a Notice of Appearance and Association of Counsel, on or about March 31, 2021.

                                                   6 (See DKT. 230.)

                                                   7         Between March 31, 2021, and until the Government’s filed its most recent Petition to

                                                   8 Revoke Mr. Harbour’s release, undersigned counsel continued to act only as a “second chair

                                                   9 lawyer.” Mr. Baskin and his firm were acting as lead counsel, and made all decisions
ADAMS & ASSOCIATES, PLC




                                                  10 pertinent to the defense. Meanwhile, Mr. Silver was to handle the tax issues, and this firm
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                           Scottsdale, AZ 85251
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                                                  11 was supposed to handle the expert witnesses, and possibly R.G. Between March 31, 2021,

                                                  12 and mid-December of 2021, undersigned also reviewed drafts of the various Motions in

                                                  13 Limine that had been drafted by Mr. Milovic of Mr. Baskin’s firm, and motions related to

                                                  14 Mr. Harbour’s COVID-19 and health issues, including the most recent continuance motion.

                                                  15 Undersigned has attended two meetings with the defense’s forensic expert, and has begun

                                                  16 preparation of the expert’s direct examination. Finally, undersigned had intended on meeting

                                                  17 with Mr. Harbour regarding R.G’s testimony, but Mr. Harbour was not well enough to attend

                                                  18 the meeting. Counsel has not yet prepared the cross examination of R.G.

                                                  19         II.   Undersigned has only reviewed a limited amount of discovery.

                                                  20         Importantly, undersigned has only reviewed a limited amount of discovery in the case.

                                                  21 The reason is because Adams & Associate’s role was always meant to be limited. As such,

                                                  22 review of all of the government’s discovery was not necessary. Counsel’s focus was on bank

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                                                   1 records, various consulting and operating agreements, and the flow of funds between various

                                                   2 entities. Only a few victim and witness statements have been reviewed by undersigned.

                                                   3          Discovery in this case is voluminous, and counsel has not received, much less

                                                   4 reviewed most of it. Mr. Baskin’s firm has provided access to some of its work product.

                                                   5 However, counsel has never received all of documents produced by the government, and thus

                                                   6 still is not aware of the total amount of documents produced. Undersigned certainly does not

                                                   7 have the institutional knowledge of the evidence needed to be ready for trial by March 29,

                                                   8 2022. Undersigned Counsel, who is a sole practitioner with other cases, including upcoming

                                                   9 trials that would cause undesigned, as the “last lawyer standing” of the original three-lawyer
ADAMS & ASSOCIATES, PLC




                                                  10 team led by Mr. Baskin, is not only likely to commit malpractice with respect to this case,
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                             (480) 219-1366




                                                  11 but also with respect to many other cases for other clients. Adams & Associates was also

                                                  12 never retained to handle the entire matter, and was only retained to assist Mr. Baskin’s firm.

                                                  13 III.     Mr. Baskin has withdrawn as counsel, and Mr. Silver has also filed a Motion to
                                                              Withdraw, which could not have been anticipated by undersigned.
                                                  14
                                                              As this Court is aware, Mr. Baskin filed an Ex Parte Motion to Withdraw as Counsel
                                                  15
                                                       on or about December 20, 2021 (DKT. 285), which was granted by Judge Fine on or about
                                                  16
                                                       December 22, 2021. (DKT. 293.) It is undersigned’s understanding that Mr. Silver has also
                                                  17
                                                       filed a Motion to Withdraw.
                                                  18
                                                              This firm agreed to handle the revocation proceedings in light of these recent
                                                  19
                                                       withdrawals, and will continue to represent Mr. Harbour, if needed, until these proceedings
                                                  20
                                                       have been completed. However, counsel cannot possibly be prepared for trial by the date
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                                                       scheduled, and thus believes that it is in the best interests of Mr. Harbour to file this Motion
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                                                   1 to Withdraw, and to allow him to find other counsel. Counsel would request that she be

                                                   2 allowed to withdraw after the revocation hearing set for January 18, 2021.

                                                   3         It is undersigned understanding that Mr. Harbour has contacted Stephen Dichter, Esq.

                                                   4 to possibly serve as his counsel and Mr. Dichter and undersigned have conversed. He has

                                                   5 stated that he has a firm trial date in San Miguel County, New Mexico, commencing April

                                                   6 15, 2022, and, obviously, cannot try this case on March 29, 2022. He also has a trial in

                                                   7 February (a USPTO Bar proceeding). Assuming that Mr. Dichter can be retained, after the

                                                   8 government reviews his prospective fee agreement and, if necessary, the Court reviews and

                                                   9 approves it,1 he will obviously need sufficient time to prepare. Mr. Dichter has not been
ADAMS & ASSOCIATES, PLC




                                                  10 retained, but he has been in discussions with Mr. Harbour. Mr. Dichter has advised that he
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                                                  11 could be prepared to try this case by late-June, 2022, were Adams & Associates to stay on

                                                  12 the case in the capacity for which it originally agreed-as second chair. If this firm withdraws,

                                                  13 Mr. Dichter advises that he could be ready to try it after the summer.

                                                  14         IV.    The government has advised that it objects to any continuance.

                                                  15         On or about January 7, 2022, undersigned e-mailed, and called Kevin Rapp, the AUSA

                                                  16 assigned to this case, and inquired whether the government would be opposed to a 90-day

                                                  17 continuance. The government has advised that it will oppose a continuance. As such,

                                                  18 undersigned believes that she has no present choice, other than to withdraw.

                                                  19

                                                  20   Mr. Dichter is from a small law firm that could not financially endure a demand to divest
                                                       1

                                                     itself of the substantial fees it would have to be paid to first chair a fraud, tax, and money-
                                                  21 laundering case on short notice against the government’s most seasoned trial lawyer, he
                                                     would have to be a fool to take on the case, no matter how interesting or financially
                                                  22 rewarding it might be.

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                                                   1          V.     Mr. Harbour requests a 90-day continuance of the trial in light of recent
                                                                     events.
                                                   2
                                                              Assuming that the issue of Mr. Dichter’s potential involvement is not simultaneously
                                                   3
                                                       resolved, Counsel also requests that this Court continue the trial for a period of 90 days,
                                                   4
                                                       which would allow Mr. Harbour to retain new counsel. Obviously, Mr. Dichter cannot agree
                                                   5
                                                       to substitute in as counsel at this time because he is unable to certify that he will be ready for
                                                   6
                                                       trial by March 29, 2022, pursuant to L.R.C. 83.3(b)(1), due to his other trial in mid-April of
                                                   7
                                                       2022. Moreover, it is doubtful that any trial lawyer could be “ready” to try a case of this
                                                   8
                                                       complexity from a standing-start by that date, even without two trials in-between.
                                                   9
ADAMS & ASSOCIATES, PLC




                                                              Also, it must be conceded, that, if Mr. Harbour’s release is revoked, the time needed
                                                  10
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                           Scottsdale, AZ 85251




                                                       to prepare his defense for a trial of this magnitude will be longer, not shorter. The auditorium
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                                                  11
                                                       or gymnasium used by CivicCare in Florence (formerly CCA) for attorney-client meetings
                                                  12
                                                       is not conducive to the meaningful exchange of privileged information. The drive to CCA is
                                                  13
                                                       also at least an hour drive, for most attorneys living in the Phoenix areas. The revocation
                                                  14
                                                       matter has also substantially distracted counsel from trial preparation. The issues involved
                                                  15
                                                       therein are complex, and consuming.
                                                  16
                                                              While this case is not young, it is also not particularly old. Reviewing the history of
                                                  17
                                                       delays while, as has been the tradition here since the enactment of the Speedy Trial Act,
                                                  18
                                                       virtually all delays are borne by the Defense, no matter what the actual cause. It is the most
                                                  19
                                                       expeditious manner in which to exclude time.
                                                  20
                                                              Here, as the Court knows, the case was delayed for about 9 months under DKT. 134
                                                  21
                                                       dated September 16, 2020, approved by DKT. 136, two days later. Trial was reset to May 18,
                                                  22

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                                                   1 2021. While the motion cited the usual defense bases for continuances, provocatively, also

                                                   2 interwoven therein was the government’s issues. Such involved the lead prosecutor, Mr.

                                                   3 Rapp, who was also the lead-District of Arizona prosecutor in United States v. Lacey, 18-cr-

                                                   4 00422 (the “Backpage” case). The Backpage trial was, at that point, supposed to commence

                                                   5 in January 2021, and setting the trial in this case in May was, obviously, of importance to the

                                                   6 government.

                                                   7         Next, on November 24, 2020, the government superseded the indictment (DKT. 154)

                                                   8 making the case even more complex. The Backpage trial did not start in January, 2021.

                                                   9 Meanwhile, the May 2021 trial date in this case was sought to be extended in DKT. 220 filed
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                                                  10 on March 1, 2021. In granting the motion, DKT 229 dated March 23, 2021, which the
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                                                  11 government opposed, the Court noted that the defense would have requested a delay until

                                                  12 September 2021, but requested January 2022 because “government counsel will be serving

                                                  13 as lead prosecutor in a three-month trial beginning on August 23, 2021.”

                                                  14         The Backpage case commenced trial on or about that date with the result known to all

                                                  15 involved in this case. It is notable that, in its opposition, the government did not mention the

                                                  16 delay attributable to the prosecutor’s unavailability. So, the government was the beneficiary

                                                  17 of its own unavailability to start the trial in September. In any universe having equanimity,

                                                  18 the government surely owes the defense the four months that Mr. Harbour shouldered for the

                                                  19 United States Attorney’s Office.

                                                  20         This time around, as the Harbour and Backpage cases continue to circle each other,

                                                  21 the government faces (or, perhaps, due to the appeal just filed in Backpage from the denial

                                                  22 of the motion to dismiss based on double jeopardy (DKT. 1445, dated January 2, 2022), faced

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                                                   1 another potential period of unavailability. Pursuant to DKR. 1377 (no separate order), the

                                                   2 re-trial for The Backpage case was set to be retried from February 2022 through April 29,

                                                   3 2022. Had there not been an appeal, can it be assumed that Mr. Rapp would have walked out

                                                   4 of his three month long trial into a trial in this case two weeks later? While defense counsel

                                                   5 understands that the briefing schedule ordered by the 9th Circuit for the double jeopardy

                                                   6 appeal will likely erase the current trial date, it has not done so yet. As such, the reality is

                                                   7 that, had the new Backpage trial date stood, another “defense delay” of this case would have

                                                   8 ensued, and everyone would be satisfied.

                                                   9         A continuance in this matter is in the interests of justice. It could not have been
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                                                  10 contemplated that the two other members of the defense team, especially, the lead lawyer,
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                                                  11 would have sought to withdraw in late-December, nor that the tax lawyer, Jason Silver, would

                                                  12 also be seeking to withdraw.2 Mr. Baskin’s withdrawal took with it years of accumulated

                                                  13 knowledge possessed only by the Defendant. In addition, third party records, which have

                                                  14 been promised for months and months, by Green Circle and its counsel, have yet to be

                                                  15 produced. This alone mandates an additional continuance.

                                                  16         While undersigned does not believe that her firm has a similar conflict, Adams &

                                                  17 Associates simply does not have the ability to be prepared for trial by the end of March,

                                                  18 2022. The best way to deal with this issue is to vacate the present trial date, reset it to a date

                                                  19 in late-June or early July, 2022, and then order a hearing on determination of counsel. Mr.

                                                  20

                                                  21
                                                       2We have been told Mr. Silver is seeking to withdraw and assume that the motion was filed
                                                       ex parte, as was Mr. Baskin’s. It does not appear on the docket.
                                                  22

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                                                   1 Dichter will forward his proposed fee agreement to the government before that hearing – fee

                                                   2 agreements are almost never privileged – and the government can react to it. Assuming the

                                                   3 government does not oppose it or suggest it will seek to order the firm to disgorge the fees –

                                                   4 whose source will be disclosed plainly in the proposed agreement – Mr. Dichter can enter an

                                                   5 appearance.

                                                   6         Therefore, counsel requests that this Court set this trial sometime after mid-June,

                                                   7 2022, which would allow Mr. Dichter, or a new lawyer additional time to be prepared for

                                                   8 trial. If the case is continued and Mr. Dichter (or someone other than him, if the government

                                                   9 acts in a manner that contraindicates his being able to be engaged) assumes the first-chair
ADAMS & ASSOCIATES, PLC




                                                  10 trial position, Adams & Associates is willing to remain involved. However, if none of the
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                           Scottsdale, AZ 85251
                             (480) 219-1366




                                                  11 above suggested options comes to pass, Adams & Associates cannot be left as the last lawyer

                                                  12 and be made to assume the first chair position in a trial starting in March 2022, if for no other

                                                  13 reason, the principles set forth in ER 1.1 of Rule 42 of the Rules of the Supreme Court of

                                                  14 Arizona.

                                                  15 VI.     Conclusion.

                                                  16         For the reasons set forth above, undersigned requests that this Court allow Adams &

                                                  17 Associates to withdraw as counsel. This firm will agree to continue on through the revocation

                                                  18 proceedings, the final day of hearing for which is scheduled for January 18, 2021, because

                                                  19 that date is imminent, and counsel decided long ago to not leave Mr. Harbour, and Mr.

                                                  20 Baskin’s firm in abeyance.       Mr. Harbour deserves to be represented by counsel in a

                                                  21 proceeding in which he stands to lose his liberty, and in which the government has relied

                                                  22 completely on unreliable hearsay, and other unsubstantiated evidence, of which counsel has

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                                                   1 since become familiar with, as a matter of default.    The Court should order other relief

                                                   2 consistent with the points raised in this Motion.

                                                   3         RESPECTFULLY SUBMITTED this 11th day of January, 2022.

                                                   4
                                                                                         ADAMS & ASSOCIATES, PLC
                                                   5
                                                                                         By: /s/ Ashley Adams
                                                   6                                         Ashley D. Adams
                                                                                            Attorneys for Defendant
                                                   7

                                                   8
                                                                                   CERTIFICATE OF SERVICE
                                                   9
ADAMS & ASSOCIATES, PLC




                                                             I hereby certify that on January 11, 2022, I electronically transmitted the attached
                                                  10
                                                       document to the Clerk’s Office using the CM/ECF system for filing.
                          7502 E. Monterey Way
                           Scottsdale, AZ 85251
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                                                  11
                                                       Kevin M. Rapp
                                                  12   Coleen Schoch
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                                                       Coleen.schoch@usdoj.gov
                                                  15   Attorneys for Plaintiff

                                                  16

                                                  17

                                                  18 /s/Kathy Taylor
                                                     Paralegal to Ashley D. Adams
                                                  19

                                                  20

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